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                                                                                                               Longmont, CO 80503




Payroll Journal Report
Date Range: 01/01/2019 - 12/31/2019 Report Created On: 06/11/2021



Payroll Journal Summary by Employee


Per Employee Summary for pay days that fall between 01/01/2019 and 12/31/2019

 Employee Name                                       Total Earnings     Employee Taxes     Employer Taxes                             Net Pay
 Eisen, Andy                                         $0.00              $0.00              $0.00                                      $0.00
 Hiduke, Valerie                                     $585.98            $44.83             $58.71                                     $541.15
 Wycoff, Azuraye                                     $11,016.00         $687.83            $697.98                                    $6,278.44
 Wycoff, Devon                                       $5,016.00          $727.64            $502.57                                    $4,288.36
 Totals                                              $16,617.98         $1,460.30          $1,259.26                                  $11,107.95

Employee Earnings


Payroll period: 12/01/2018 - 12/31/2018 Pay day: 01/03/2019

 Employee Name                                         Total Earnings     Employee Taxes      Employer Taxes                              Net Pay
 Eisen, Andy                                           $0.00              $0.00               $0.00                                       $0.00
 Hiduke, Valerie                                       $300.50            $22.99              $32.21                                      $277.51
 Wycoff, Azuraye                                       $1,224.00          $82.20              $82.97                                      $691.83
 Payroll Totals                                        $1,524.50          $105.19             $115.18                                     $969.34


Payroll period: 01/01/2019 - 01/31/2019 Pay day: 02/01/2019

 Employee Name                                         Total Earnings     Employee Taxes      Employer Taxes                              Net Pay
 Eisen, Andy                                           $0.00              $0.00               $0.00                                       $0.00
 Hiduke, Valerie                                       $0.00              $0.00               $0.00                                       $0.00
 Wycoff, Azuraye                                       $1,224.00          $80.96              $82.98                                      $693.07
 Payroll Totals                                        $1,224.00          $80.96              $82.98                                      $693.07


Payroll period: 03/01/2018 - 03/31/2018 Pay day: 02/27/2019

 Employee Name                                         Total Earnings     Employee Taxes      Employer Taxes                              Net Pay
 Eisen, Andy                                           $0.00              $0.00               $0.00                                       $0.00
 Hiduke, Valerie                                       $0.00              $0.00               $0.00                                       $0.00
 Wycoff, Azuraye                                       $1,224.00          $74.95              $82.97                                      $699.08
 Payroll Totals                                        $1,224.00          $74.95              $82.97                                      $699.08
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Tax Reconciliation Payroll Pay day: 03/31/2019

Employee Name                           Total Earnings        Employee Taxes      Employer Taxes           Net Pay
Hiduke, Valerie                         $0.00                 $0.00               -$2.10                   $0.00
Wycoff, Azuraye                         $0.00                 $0.00               -$16.26                  $0.00
Payroll Totals                          $0.00                 $0.00               -$18.36                  $0.00


Payroll period: 03/01/2019 - 03/31/2019 Pay day: 04/02/2019

Employee Name                           Total Earnings        Employee Taxes      Employer Taxes           Net Pay
Eisen, Andy                             $0.00                 $0.00               $0.00                    $0.00
Hiduke, Valerie                         $180.30               $13.79              $18.06                   $166.51
Wycoff, Azuraye                         $1,224.00             $74.95              $77.55                   $699.08
Payroll Totals                          $1,404.30             $88.74              $95.61                   $865.59


Payroll period: 04/01/2019 - 04/30/2019 Pay day: 05/01/2019

Employee Name                           Total Earnings        Employee Taxes      Employer Taxes           Net Pay
Eisen, Andy                             $0.00                 $0.00               $0.00                    $0.00
Hiduke, Valerie                         $105.18               $8.05               $10.54                   $97.13
Wycoff, Azuraye                         $1,224.00             $74.96              $77.56                   $699.07
Payroll Totals                          $1,329.18             $83.01              $88.10                   $796.20


Payroll period: 05/01/2019 - 05/31/2019 Pay day: 05/31/2019

Employee Name                           Total Earnings        Employee Taxes      Employer Taxes           Net Pay
Eisen, Andy                             $0.00                 $0.00               $0.00                    $0.00
Hiduke, Valerie                         $0.00                 $0.00               $0.00                    $0.00
Wycoff, Azuraye                         $1,224.00             $74.95              $77.55                   $699.08
Payroll Totals                          $1,224.00             $74.95              $77.55                   $699.08


Payroll period: 06/01/2019 - 06/30/2019 Pay day: 07/02/2019

Employee Name                           Total Earnings        Employee Taxes      Employer Taxes           Net Pay
Eisen, Andy                             $0.00                 $0.00               $0.00                    $0.00
Hiduke, Valerie                         $0.00                 $0.00               $0.00                    $0.00
Wycoff, Azuraye                         $1,224.00             $74.95              $77.55                   $699.08
Payroll Totals                          $1,224.00             $74.95              $77.55                   $699.08


Payroll period: 07/01/2019 - 07/31/2019 Pay day: 08/01/2019

Employee Name                           Total Earnings        Employee Taxes      Employer Taxes           Net Pay
Eisen, Andy                             $0.00                 $0.00               $0.00                    $0.00
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Hiduke, Valerie                         $0.00                  $0.00               $0.00                   $0.00
Wycoff, Azuraye                         $1,224.00              $74.96              $77.56                  $699.07
Payroll Totals                          $1,224.00              $74.96              $77.56                  $699.07


Payroll period: 08/01/2019 - 08/31/2019 Pay day: 08/30/2019

Employee Name                           Total Earnings         Employee Taxes      Employer Taxes          Net Pay
Eisen, Andy                             $0.00                  $0.00               $0.00                   $0.00
Hiduke, Valerie                         $0.00                  $0.00               $0.00                   $0.00
Wycoff, Azuraye                         $1,224.00              $74.95              $77.55                  $699.08
Payroll Totals                          $1,224.00              $74.95              $77.55                  $699.08


Payroll period: 09/01/2019 - 09/30/2019 Pay day: 10/01/2019

Employee Name                          Total Earnings         Employee Taxes     Employer Taxes          Net Pay
Eisen, Andy                            $0.00                  $0.00              $0.00                   $0.00
Hiduke, Valerie                        $0.00                  $0.00              $0.00                   $0.00
Wycoff, Azuraye                        $0.00                  $0.00              $0.00                   $0.00
Wycoff, Devon                          $1,344.00              $201.55            $134.67                 $1,142.45
Payroll Totals                         $1,344.00              $201.55            $134.67                 $1,142.45


Payroll period: 10/01/2019 - 10/31/2019 Pay day: 11/01/2019

Employee Name                          Total Earnings         Employee Taxes     Employer Taxes          Net Pay
Eisen, Andy                            $0.00                  $0.00              $0.00                   $0.00
Hiduke, Valerie                        $0.00                  $0.00              $0.00                   $0.00
Wycoff, Azuraye                        $0.00                  $0.00              $0.00                   $0.00
Wycoff, Devon                          $1,224.00              $175.37            $122.64                 $1,048.63
Payroll Totals                         $1,224.00              $175.37            $122.64                 $1,048.63


Payroll period: 11/01/2019 - 11/30/2019 Pay day: 11/29/2019

Employee Name                          Total Earnings         Employee Taxes     Employer Taxes          Net Pay
Eisen, Andy                            $0.00                  $0.00              $0.00                   $0.00
Hiduke, Valerie                        $0.00                  $0.00              $0.00                   $0.00
Wycoff, Azuraye                        $0.00                  $0.00              $0.00                   $0.00
Wycoff, Devon                          $1,224.00              $175.35            $122.62                 $1,048.65
Payroll Totals                         $1,224.00              $175.35            $122.62                 $1,048.65


Payroll period: 12/01/2019 - 12/31/2019 Pay day: 12/31/2019

Employee Name                          Total Earnings         Employee Taxes     Employer Taxes          Net Pay
Eisen, Andy                            $0.00                  $0.00              $0.00                   $0.00
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Hiduke, Valerie          $0.00                 $0.00                    $0.00                   $0.00
Wycoff, Azuraye          $0.00                 $0.00                    $0.00                   $0.00
Wycoff, Devon            $1,224.00             $175.37                  $122.64                 $1,048.63
Payroll Totals           $1,224.00             $175.37                  $122.64                 $1,048.63
